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Ve oo, #19 Cr 709 (JFK).
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- The VOSR Conference, set for June 8, 2022 at 11:00 a.m., will be handled

by Judge Preska in Courtroom 12-A, 500 Pearl Street, New York, NY 10007,

SO ORDERED.

Dated: New York, New York

 

(6-2-0 Ch 1:
u
. JOHN F. KEENAN (las na2n

United States District Judge

 
